       Case 2:16-cv-01318-KG-KRS Document 20 Filed 06/22/17 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


GARRETT GILLESPIE,

               Plaintiff,                           Case No. 2:16-cv-01318–KG-KRS

vs.

NATIONWIDE INSURANCE COMPANY OF AMERICA a/k/a ALLIED INSURANCE
COMPANY OF AMERICA; NATIONWIDE INSURANCE COMPANY OF AMERICA a/k/a
DEPOSITORS INSURANCE COMPANY; ACUITY, A MUTUAL INSURANCE COMPANY;
and MARIA GIACCIO,

               Defendants.


                        ORDER OF DISMISSAL WITH PREJUDICE

       THIS MATTER having come before the Court on the parties’ Joint Motion for

Dismissal with Prejudice, and the Court having considered the Joint Motion and being otherwise

advised in the premises hereby FINDS:

       Plaintiff, Garrett Gillespie, and Defendants, (1) Nationwide Insurance Company of

America a/k/a Allied Insurance Company of America, Nationwide Insurance Company of

America a/k/a Depositors Insurance Company (hereinafter referred to as “Nationwide”), and (2)

Acuity, a Mutual Insurance Company (“Acuity”) (Nationwide and Acuity hereinafter

collectively referred to as “Defendants”), have entered into a settlement of all issues of law and

fact in this case, have agreed that any and all claims and damages that were brought or that could

have been brought herein by and between the parties are to be dismissed with prejudice, have

agreed to bear their own costs and attorneys’ fees, and have requested that this Court issue an

Order of Dismissal with Prejudice dismissing Plaintiff’s Complaint for Negligence, Declaratory
        Case 2:16-cv-01318-KG-KRS Document 20 Filed 06/22/17 Page 2 of 3



Judgment, Breach of Contract, and Damages (Complaint) filed in the Third Judicial District

Court on September 7, 2016, and removed to this Court on December 2, 2016.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that:

        1.      Plaintiff’s Complaint is dismissed in its entirety and with prejudice as to

Nationwide, Acuity, and Maria Giaccio.1

        2.      Any and all claims and damages that were brought or that could have been

brought herein by and between the parties are dismissed with prejudice.

        3.       The parties are to bear their own costs and attorneys’ fees.

        4.       All claims of every nature asserted by Plaintiff against Defendants and Maria

Giaccio in this suit are hereby dismissed with prejudice. There are no claims of any kind

remaining.

        IT IS SO ORDERED.



                                         ___________________________________________
                                         UNITED STATES DISTRICT JUDGE




1
 For clarity, Maria Giaccio was not served and did not voluntarily answer or appear in this case.
Nonetheless, Plaintiff’s claims against Maria Giaccio are also dismissed with prejudice.
                                                    2
       Case 2:16-cv-01318-KG-KRS Document 20 Filed 06/22/17 Page 3 of 3




Approved as to Form and Substance:


By: /s/ electronically approved JL Anderson________
John Lomax Anderson
Ruhmann Law Firm
5915 Silver Springs, Bldg. 1
El Paso, TX 79912
(915) 845-4529
Attorneys for Plaintiff


By: /s/ electronically approved by Ryan T. Saylor________
Gregory L. Biehler
Ryan T. Saylor
Lewis, Brisbois, Bisgaard & Smith, LLP
6715 Academy Road, NE #A
Albuquerque, NM 87109-3365
(505) 828-3600
Attorneys for Defendant Nationwide


By: /s/ electronically approved by Courtenay L. Keller
Courtenay L. Keller
Riley, Shane & Keller, P.A.
3880 Osuna Road NE
Albuquerque, NM 87109
(505) 883-5030
Attorneys for Defendant Acuity




                                               3
